   Case 1:20-cv-00354-MHT-CSC Document 27 Filed 11/02/20 Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, SOUTHERN DIVISION


SEAN D. WASHINGTON,                )
                                   )
     Plaintiff,                    )
                                   )         CIVIL ACTION NO.
     v.                            )           1:20cv354-MHT
                                   )                (WO)
DONALD VALENZA, et al.,            )
                                   )
     Defendants.                   )

                              JUDGMENT

    In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) The       United       States        Magistrate        Judge's

recommendation (doc. no. 25) is adopted.

    (2) This lawsuit is dismissed without prejudice for

failure to comply with the orders of the court and

prosecute this action.

    No costs are taxed.

    The clerk of the court is DIRECTED to enter this

document   on   the    civil    docket     as   a   final     judgment
   Case 1:20-cv-00354-MHT-CSC Document 27 Filed 11/02/20 Page 2 of 2




pursuant   to   Rule    58   of    the   Federal    Rules    of   Civil

Procedure.

    This case is closed.

    DONE, this the 2nd day of November, 2020.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
